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             Exhibit 14
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               OFFICE OF                                                                                            Form F4-5M-3-l -76


CORONER                                                                           Peoria, Illinois, _ _ _. _F_,. e. .,.b'-'-.....
                                                                                                                            r 1....
                                                                                                                                 1a,..r_y
                                                                                                                                        _ _,_3+,___..1.....9'-'7~7.___
        OF PEOR IA COU:-ITY

                                                                   EVIDENCE given at the Coroner's Inquest on the body of

~C.:::O~Ni.!.JNul...1,E,.._:,C""'O"--lO"--!P....;E~R~----------------------------, deceased;
;.;W. .;.l. . :L;c.;L; _l. .;.A_;.;M. ;__.: . D. :. O. . :;U. . :G. . :L; _A"'"'S'---_ __ ____________ , after being duly sworn, testifies as follows:


Q.       Wou l d you please state your name, address and occupation?
A.       Wi 11 ,iam Douglas, 14 17 West Martin, Peoria , 111 inois;                                                         I   work
          part-time at T. W. Parks Funeral Home .
Q.       Mr . Douglas, I have asked you t o verify the tami ly history in
         rega rds to both ind i viduals due to the condit i on of their mo ther
         and      you were their step- f ather , and then we wi I I con ti nue on with
         the rest of your testimony.                                Wou l d you please verify the fo ll owing
          information in regards to Connie Cooper.                                              That is her correct name?
A.       Connie Lee.

Q.       Connie Lee?               Her home address is 3033 Garden Street in Peoria , I I I inois.
A.       Co rrect.

Q.       And to the best o f your know Jedge, she was pronounced dead at her
         resi~ence by the Coroner of Peoria County at 5:02 P.M . January 18th ,
         1977?
A.       Correct .

Q.       And to the best of your knowledge , her date of b irth is
                                       she was 18 years of age at the time of her de ath ?
A.       19.
Q.       She was 19?
A.       Yeah .
Q.      Then she was born in
A.       She was born in                                 believe.
Q.       It ' s                 Al I right .             We 1 11 make the correction .                                 Thank you.                    She

         had never married?
                  '
A.      No .                                                                                     PEORIA_SAVORY 13110
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                                                                                                                       Form F4- 5M- 3·1•76
                OFFICE OF

CORONER                                                                                    Peoria, Illinois,_ _ _F_e_b_r_u_a_r__.y_3__..___,_1_9_7_7_
         OF PEORIA C OUSTY

                                                                          EVIDENCE given at the Coroner's I nquest on the body o f

c..,_o
     ,\.ll.l.N.1::1N...1.l...i;;E.._Jl-1f:..Jf.:._J..,C:,.J.0..1..0u.:P....i;E;_rR:i.___ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ ,   deceased;

,.!....!...
W      1-=L-=L~l....'...A'...'M
                              ..~D:'...:O=U.::::G-=Lc!..A!.::S:..___ _ _ _ _ _ _ _ _ _ _ _ _ _ _,    after being duly sworn, t estifies as follows:



A.         Yes .

Q.         And s he was born                     in the state of Georgia?

A.        Co rrect.

Q.        He r      father's name                  is unavai I able?

A.        Co rrect.

Q.        He r     mother's name                   is Noya -             N-o-y-a- - -                is    i t Noyalee, one wo rd?

A.         ( Mr s .     Robinson):                 Yes.

Q.         It ' s N- o - y - a-1-e-e?

A.         ( Mrs .      Robinson):                 Yes.

Q.         Mid dle        initial           "A" ,      and your maiden name                            is Cooper?

A.         ( Mr s.      Robinson) :                Yes.

Q.         Al I     ri g ht.         Andi t was the w i sh of the family that the T.                                                 W.      Park s
                                        in Peoria
          Co l o hial         Cha p el/have charge of the funeral arrangements?

A.         ( Mr.      Doug l as):             Yes .

Q.         And the burial                   took place on January 24th,                                    1977,      at the Sprin gda l e

          Cemetery             located           in the City and County of Peoria, and th e Sta t e

          of      I I I i no is?

A.        Co rrect.

Q.        Now ,       I would ask you to verify the fam il y                                              h i story    in regards t o

          J ame s Rob i nson .                  Did he have a midd l e                         in i t i al?

A.        J ames William Robinson .

Q.        His correct name                      is James Wi 11 iam Rob i nson.                               Al I     right.       His ho me

          a d d ress        is 3033 Garden Street,                             Peoria,              I I I inois?

A.        Corr ect .

Q.                                                    PEORIA_SAVORY
          He wa s pronounced dead at the residence at 5:03 P.M . Januar y13111
                                                                           18 th ,                                                                    1977 ,
                                             1:23-cv-01184-CRL-JEH # 318-14                                       Filed: 04/22/24                      Page 4 of 10
                                                                                                                                                           Form F4- 5M- 3-l-76
                          OFFICE OF


CORONER                                                                                                            Peoria, lllinois, _ __ .1.P..s;;eu.b1....1r...J1"'-';al;L.Lr-:t-y_3L.,,,._.1...I_.. 9_,.7_,7_
              OF PEORIA COU:-IT'\."

                                                                                             EVIDENCE given at the Coroner's Inquest on the body of

C~O{!N;!_.!N::!...!.J
                I E=-----'~L E
                             ~E~C~O~O:L!.P:...!E::...!R:l.......!A:l!.N:LlDL.::Ju.Al!M::uE:..::SL....!Ww.<--iR~OL!,BL.!lc..!..N!...sS~O!..!..Nl-1,L..-.)jJw..R.,_,,'--_ _ _ _ _ _ _ _ _ _ ,       deceased;

W::....:..
     l .'L~L...:..l~A~
           .:.      M~D:...::O:....:U:..:G:..:L:..:A...:..:S=-----   -------------,                                           after being duly sworn, testifies as follows:


A.               No .

Q.               Nor wa s he ever in the armed services?

A.               No .

Q.               By o ccupation he was a student in school?

A.               Co r rect.

Q.               An d he was born                                    in the State of                    I I I inois?

A.               Co rrect .

Q.               Hi s           father's name was J ames                                   W. Robinson?
A.               Cor r ect .

Q.               Hi s mother ' s name is Noyalee ,                                               middle initial                             "A", and her mai d en

                 n ame             is Cooper?

A.               Co rr ect.

Q.              An d            i t was t he wish of the family that the T .                                                                  W. Parks Colonial Cha pe l

                al so have charge of his funeral                                                      arrangements?

A.              Co rre ct.

Q.              An d burial                             took place on January 24th,                                       1977,             in the Springdale Ceme t ery

                 l ocat ed                   in the City and Coun t y of Peoria ,                                                 and State of 111 inoi s .

A.              Co r rect .

Q.              Now,              Mr. Douglas ,                        were you at the residence on Garden ,                                                            3033, earl ie r

                in t he morning of January                                           18th,            1977?

A.              Yes .

Q.             An d what time -- were you there or al I night, or did you arrive ea rly

                i n th e morning?

A.              I wa s \ there all                                   night .

Q.                                                            PEORIA_SAVORY
               An d d id y ou see or talk with Connie Cooper and/or           13112on t h a t
                                                                    James Robinson
                                                     1:23-cv-01184-CRL-JEH # 318-14                                                                                             Filed: 04/22/24                                          Page 5 of 10

                                OFFICE OF
                                                                                                                                                                                                                                           Form F4-SM-3-l-76      ~62



 CORONER                                                                                                                                                                           Peoria, lllinois, _ __ .LF_..e...,.b"""r_.1...
                                                                                                                                                                                                                              1a...,r_y,__-3....,.,~1-9._.7._7.____


                                                                                                                                                 EVIDENCE given at the Coroner's Inquest on the body of

                       I .::.E----=.L.::.E-=-E~C::::..O.::'...O~P=-E!..!.R.....!..!.A!..!.N!::..D~JA:..:.:...:.M=-E!::,.S_W:..:....:....._R:....:..O:::.;B:::....:...IN:...:..S:::...O:::.;N:...:...i..._J=--R:....:....:....._ _ _ __
 ~C~O.'..:'.N.'..:'.N...!..                                                                                                                                                                                                               _ _ _ _ _ _,         deceased;

 W_I_L_L_I_A_M_D_O_U_G_L_A_S_ _ _ _ __                                                                        _ _ _ _ _ _ _ _ _ _,                                                                  after being duly sworn, testifies as follows:



 Q.                    (Cont.)                               t he morning, when you leave?
 A.                   Yes.

Q.                    About quarter after 6 : 00 , you say?

A.                    Between quarter after 6:00 and 6:30.

Q.                   Now ,                  I       believe, also, at the residence was the -- was the young chi Id,
                     Wi I Ii am

A.                   Yes.

Q.                   -- Cooper?                                          And , also, the children's mother, Noya lee Cooper -- or
                     Robinson, rather .
A.                   Correct.

Q.                   Did Mrs. Robinson leave the house with you?
A.                   Yes .

Q.                   And so you both left about a quarter after 6:00?
A.                   Yes.

Q.                  Wa s there any signs of fou I p I ay in the house when you I ett?
A.                  No.

Q.                  Wa s there any arguments?                                                                                        Of any type?
A.                  No.

Q.                  Was a nyone else in the house other than the persons I have a lready
                   mentioned?
A.                 No .

Q.                 And I bel ieve there was a police dog there?
A.                Correct .                                        And a cat .

Q.                 And a cat.                                          Al I right.                                         Okey.                         Now ,would you -- when you and Mrs .
                                                                 PEORIA_SAVORY
                   Robinson l ef t the house, did either one of you take any keys 13113
                                                                                   to the
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                                                                                        Form F4- 5M-3-1-76
               OFFIC E OF
                                                                                         Febr~~
                                                                                             uary 3 , .......,_~
                                                                                                           197--'---
 CO RO NE R                                                       Peoria, lllin ois,-- - ~~     L-~              7
       OF PEOn lA COU:S TY
                                                      EVIDENCE given at the Coroner's Inquest on the body
                                                                                                                     of
 "Q_~JJ;_J
 @NN      I E LE   ~LQ   .Qil l~Gh l!!L .ll.U
                                        JAME:ti;.S
                      E COOP   ER AND         S W, ......
                                                     ROBI Yi.._
                                                           NSON _fil~
                                                                  , JR~S.. O..ti +__. l.R.. ~--- ----- ----• deceased;
 W~I~L~L_!_l~A!::M~ D~O~U
                        ~G~L :!_ A~ S~ --- --- --- --- --- • after being
                                                                                       duly sworn, testifies as follows:


 Q.     Was the fron t door lock ed whervyou l eft ?

 A.     Ye s.
 Q.     Now , do you know whe re the pers ons in volv
                                                        ed were , when you left th e
        hou s e? Con nie Coo per and Jame s Rob inso n?
 A.      I   knew whe re they were slee ping at.
 Q.     Yes , whe re were they slee ping ?
 A.                                           from
        Con nie was in the one bedr oom off/ the bath
                                                      room and Jame s was i n t he
        back bedr oom off the k i tche n.
 Q.     Oke y .    Al I ri ght, now , I beli eve you did not retu
                                                                  rn to the hou se no r
        did t he c h ildr en's moth er unti l late r in
                                                        the afte rnoo n, is that co rrec t?
 A.     Co rr ec t .
 Q.     Did you at any time duri ng the day have
                                                 any con vers atio n with eith er
        Co nni e Coo per or Jame s Rob inso n?
 A.     No .
Q.      And wha t time did you arri ve back at the
                                                   hous e?
A.      App ro xim atel y 4:30 that even ing.
Q.     Al I righ t, now, when you arri ved , wou ld
                                                     you plea se tel I the Coro ner ' s
       Jury and othe rs pres ent in the Cou rtroo m,
                                                       the circ ums tanc es when you
       a rriv ed at the hous e and wha t you did, plea
                                                        se?
A.     We i I, we got out of the car and wen t to
                                                    the fron t doo r, and No ya
       kno c ked on the door and got no answ er .
                                                    She look ed in and see n , you
       know , the hous e was sort o f mes s ed up and
                                                       ever ythi ng. So I took --
       had my ke y in my hand and I tapp ed on the
                                                   wind ow thin king mayb e Conn i e
       was a ls e e p .
Q.    You loo ke d thro ugh the door wind ow?
                                                                            PEORIA_SAVORY 13114
                              1:23-cv-01184-CRL-JEH # 318-14               Filed: 04/22/24                 Page 7 of 10
                                                                                                               Form F4-5M-3-l-76                       ~62
                 OF FICE OF


 COR ONE R                                                                                                                               3....., ___.1~9....7'-7~
                                                                            Peoria, Illinois,, _ _ _.1-F.s.e..1,1b~r_.,,uua,urc....Y1---....
          0 1-" PEORIA cou :-.T'\."

                                                             EVIDENC E given at the Coroner's Inquest o n t he body of

                                                                           INSON~,---->1...r.:
 QCOQ_N~N~IELJL~E~E~C~O~O~P~EJ:RUA~NU,!D~Jjj_A!'.!M.!;.E~S-~W."""'R~O.!JBQ..LJ.:!..,2..!,LJ.: JR....., _ _ _ _ _ __ __ __ ,                     deceased;

                            DOUGLAS:___ ___ ___ __
      I LL J AM ....~~~:..:....:....:
 '..'.....'.....:...:....'.
 w                                                                               ,    after being duly sworn, testifies as follows:



 Q.         And t~at door is in the front of the hou se?
 A.         Right .            The garage door is.

 Q.         But you d i d not go in the back door of the house?
 A.         No .

 Q.         Okey .

A.          We went in and we got in the kitchen and she said, "Scope y hasn ' t
            taken the garbage out yet."
Q.          Who Is "Scopey" ?

A.          That's James ' nick-nam e.

Q.          Would you spel I that name?
A.          S-c - o - p-e - y .

Q.          Okey . Thank you .

A.          And she say s, "Scopey hasn't taken t he garbage out yet." So , we went

           on into the kitchen and she says , "What's al I this on the flo or?" The
                                                      to
           kitch en floor. So , I went on in through /the I iving room and the ' phone
           was half-way off the hook .                          put that back on the hook.                                        Went to the
           bed room door and opened it and --

Q.         And you found the two ch i I dren?
A.         Correct .

Q.         The door was closed to the bedroom?
A.         Yes , it was .

Q.         And ther e were no signs of Ii fe , i s that correct?

A.        I didn ' t go in side the room , but from stand in g outside, there didn 't
          seem to be any.

Q.        And yo u we re by yourself when you - -                                           PEORIA_SAVORY 13115
                     1:23-cv-01184-CRL-JEH # 318-14                  Filed: 04/22/24                  Page 8 of 10
                                                                                                            Form F4-5M-3-l-76                         . . . . . .62
             OFFICE OF

                                                                       Peoria, lllinois, _ _ __r:F_i;:e1_1,b!..lr....!ui.L;ai:..Lr.:t.y_3~,,__.1-IL.9...,__7_,_7_
CORONER
       01" PEORIA COtl:-ITY
                                                          EVIDENCE given at the Coroner's Inquest on the body of

 C..ONNIE         LEE COOPER AND JAMES W, R                        •·
 r-- QN.t::jJ ...E:_J..£.LC.Qfil~L.Jlli.LL.,UlM.t~.JJ...L-.jj.Q!..CBLlluN::1.,S,;QH~...wJ...rR~------------, deceased;

 w~I!:_L.!::_L..!_l~A_l".IM~D~O~U~G~L:.!.A~S:2..__ _ _ _ _ _ _ __ _ _ _ ___,     after being duly sworn, testifies as follows:



 A.      Li k e crackers had been ,                you know?         Out and on the f l oor -- you know?

 Q.      A b ox of regular crackers?

 A.      Crackers ,          uh-huh.

 Q.      Al I     r i ght.    Then ,    what did you do after you - -                               after you --

 A.      I don ' t       kno '"' what   I said ,      but Noya come running to the door and                                                      I

         c I os ed the b edroom door to keep her from see in '                                         i t and           I grab b ed her

         and by that time,              I heard my grandson cal led my name , and I opened the

         o t her bedroom door a n d picked him up and carried him into the                                                                  I ivin '

         room ,     and       tried the 'phone in the kitchen and                                      I couldn ' t                get any -

         t h ing but a - -         you know - -        a clickin'          sound sort of noise, and

         we n t    in the      living room and i.t was the same,                              so that ' s when                         I put

         k ep t   Noya and the baby in the car and started the motor up and went

         n ex t   door and Mr.          Adair,      hisself, called the police .

Q.       Wh e re was the dog in the house when you arrived?

A.      He was walkin '           around in the livin '               room ,         when we arrived .

Q.      A l I right .

A.      We could see him in -- from the outs i de .

Q.      The re was no one else in the house other than the two deceased                                                                       i n divi d ual s

        an d the baby,           right?

A.      Ri gh t.

Q.      ( To the Jury):            Are there any questions by the Jury?

        ( J u ry):       None.

Q.      Do y ou know whether or not e i ther of the chi l dren have had any dif f i-

        culty with anyone recent l y?

A.     Not to my knowledge,                 no .                                       PEORIA_SAVORY 13116
                      1:23-cv-01184-CRL-JEH # 318-14              Filed: 04/22/24                 Page 9 of 10
                                                                                                        Form F4- 5M -3·1•76
            OF FIC E OF

 CO RO NE R                                                         Peori a, Illino is,_ __ !..-F2e~b.1.r....!:u!.!:awr_yL--=!..3..1.•__._I_,,9c..:7....7'--
      Ol•' Pl::O RIA COU:-i T'\."
                                                         EVI DEN CE given at the Coro ner's Inquest on
                                                                                                                                      the body of
 "Q_~Jl;_J :£~QCOOP
               .QQ.!:~~hl!!L1!.~JAME
                                ;_S__j!_.!..-
 ~ONN IE LEE         ER AND           S W.-fillli.
                                              ROBIJL.t:ts.Q.t:L,..-JJL
                                                      NSON         J R,,____ __ __ __ __ __,                                               deceased;
 W~l~L~L~l~A~M~D~O~U~G~L::.A~S~- - - - - - - - -
                                                 - - - -- -• after being duly swor n, testifies
                                                                                                as follow s:


 Q.     Wha t     kind of a swee per is            it?      An upri ght or - -

 A.     No ,    it' s a - -

 Q.     Like an Elec trolu x?

 A.     It was a E lect rolu x.

 Q.   Okey .

 A.    And the T-V was o ff of i ts regu lar
                                             tabl e s i t t i ng on t h e floo r
 Q.    wha t k i n d of a T - V?           A b i g t e I e v i s i o n or a s ma I I one?
                                          sma I I
 A.    No ,     a smal I one.           A/po rtab le T- V.

 Q.    Was      i t plug ged in wh en you           left ?
 A.    Yes ,      I am pre tty su re         it   was.
 Q.    How was          i t when you arriv ed?            Late r?
 A.    I didn ' t         look t o see i f i t was plug ged               in or any thin g.                            It was just
       i t was on the floo r off the tabl e .
                                                                    And the key -- wel I , t he                                    ' phon e was
       ajar and the key, whic h was on the
                                                                 I i t t l e stan d wher e the tele phon e                                            is,
       was o n t h e floo r.

Q.     Tha t ' s the k ey for the fron t door ?

A.    Co r rect .          The fron t door of the gara ge ,                 I beli eve .                   And a half pint
      bot tle o f          J - 8, whic h   I had the nigh t befo re, was sitt in
                                                                                 '                                      next the chai r
      by the         ' phon e was on the tabl e whe re the
                                                           T- V sits at.
Q.    Al I r ight ,          now ,   that I iquo r was yo urs?

A.    Cor rect .

Q.    And      i t was       in the hous e?

A.    Righ t .

Q.    Wou ld you ha ve any id ea why anyo ne
                                             wou ld wan t to do such a hor rible

                                               plac e? PEORIA_SAVORY 13117
      thin g to the chil d ren , that did take
                                      1:23-cv-01184-CRL-JEH # 318-14                                                             Filed: 04/22/24                           Page 10 of 10
                                                                                                                                                                                   Form F4-5M-S-1-76
                       OFFICE OF


CORONER                                                                                                                              Peoria, lllinois,_ _ _F_e_b_r_u_a_r_y~3_,_I_9_7_7_
             01" PEORIA COU!'IT'\."

                                                                                                            EVIDENCE given at the Coroner's Inquest on the body of

=.C=.O:. :.N:. :.N. :. . 1:::.E--=.L:::.E:::.E--=.CO.=..O.::.:...P=-E:..:.R_A:..:.N;_;_;;;_D_J:...A:..:.M
                                                                                                      :..:.E=-S-=----W:..:....:....._R:..:.0.:..;B;;;....;..;INc..:...S.:..;O;;..;N~,_J;_;R...;_;_._ _ _ _ _ _ _ _ _ _ _,   deceased;

W_I_L_L_I_A_M_D_O_U_G_L_A_S_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _,                                                                                       after being duly sworn, testifies as follows:



Q.               Is there anything else you could tel I                                                                                     us?

A.              No ,         that             is al I.                     I don't think so.                                            Nothing that                               I can think of.

Q.              A l I right.                            I believe,                         i f there is nothing else,                                                          that wi 11                       be al I.

                Thank you very much.                                                   You may step down.




                                                                                                                                                         PEORIA_SAVORY 13118
